   EXHIBIT 5




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      ANDERSON              ANDERSON               PARTIES TO           CLAIMS            CLAIMS
       ORIGINAL              AMENDED                  THE              DISMISSED         SURVIVED
      COMPLAINT             COMPLAINT               AMENDED               OR                 &
        (ECF 1)               (ECF 47)             COMPLAINT           SURVIVED1        DEFENDANTS

    (¶¶ 1 to 162)       (¶¶ 1 to 145)             Mensah,
    Factual             Factual Allegations       Weber, CVMIC
    Allegations                                   & City2

         Claim 1              Claim 1             PL - Estate         Survived3             Claim 1
    42 U.S.C. § 1983    42 U.S.C. § 1983 –                                              Excessive Force
    4th Amendment       4th Amendment
    Excessive Force     (¶¶ 146 to 172)           DF - Mensah,                          Mensah, Weber,
    (¶¶ 163 to 188)                               Weber, & City                         & City
    (Answered)          Excessive Force
                        (No answer)
          Claim 2              Claim 3            PL - Estate         Survived4            Claim 3
    42 U.S.C. § 1983                                                                    Equal Protection
    14th Amendment      42 U.S.C. § 1983 –        DF - Mensah,
    Denial of Equal     14th Amendment            Weber, City                           Mensah & City
    Protection          Denial of Equal
    (¶¶ 189 to 209)     Protection
    (Answered)          (¶¶ 186 to 206)
                        (No answer)

         Claim 3               Claim 4            PL – J.A.           Dismissed            Claim 4
    42 U.S.C. § 1983    42 U.S.C. § 1983 –                            (Weber)           Loss of Society
    4th Amendment       4th Amendment Loss        DF - Mensah,                                &
    Loss of Society &   of Society &              Weber, & City       Survived          Companionship
    Companionship       Companionship                                 (Mensah &
    (¶¶ 210 to 217)     (¶¶ 207 to 214)                               City)             Mensah & City
    (Answered)          (No answer)




1
  See Anderson 21-cv-1179 ECF 56; Cole 22-cv-856 ECF 25;
2
  CVMIC became a party in the Amended Complaint (Anderson ECF 47) but was not a party in the
original complaint. See Anderson ECF 1
3
  Defendants did not move to dismiss Mensah and the City of City from the Amended Complaint. See
Anderson ECF 50 & 51.
4
  Parties stipulated that Weber be dismissed from this claim.



**The light blue
         Case    color for Claims (2,5,6,8,&
               2:21-cv-00848-LA              9) as highlighted
                                    Filed 08/26/23   Page 2 of are new Claims
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                                                                            106-5
Amended Complaint (ECF 47) that were not in the original complaint (ECF 1).
         Claim 4               Claim 7              PL - ALL             Survived5              Claim 7
    Wisconsin Statute    Wisconsin Statute                                                    Wisconsin
    Section 895.46       Section 895.46             DF - Weber,                             Statute Section
    Indemnification      Indemnification            Mensah,                                     895.46
    (¶¶ 218 to 230)      (¶¶ 232 to 244)            CVMIC, & City                           Indemnification
    (Answered)                                                                                (PL – J.A.)
                         Barry, Mensah,
    Barry, Mensah,       CVMIC & City                                                      Weber, Mensah,
    and City             (No answer)                                                       CVMIC, & City


                                Claim 2             PL – ALL             Survived               Claim 2
                         42 U.S.C. § 1983 –                                                14th Amendment
                         14th Amendment             DF – Weber &                            Failure to Train
                         Failure to Train and       City                                     & Supervise
                         Supervise
                         (¶¶ 173 to 186)                                                   City & Weber
                         (No answer)

                                 Claim 5            PL – ALL             Survived               Claim 5
                         Monell Claim                                                           Monell
                         (¶¶ 215 to 224)            DF - City
                         (No answer)                                                              City
                                 Claim 6            PL – ALL             Dismissed              Claim 6
                         42 U.S.C. 1983 -
                         Deliberate                 DF – Weber &                               Dismissed
                         Indifference               City
                         (¶¶ 225 to 231)
                         (No answer)
                                 Claim 8            PL – ALL             Dismissed              Claim 8
                         Direct Action Statute
                         Wis. Stat. § 632.24        DF - CVMIC                                 Dismissed
                         (¶¶ 245 to 248)
                         (No answer)

                               Claim 9              PL – Estate of       Dismissed              Claim 9
                           Loss of Society &        Anderson
                            Companionship                                                      Dismissed
                         (¶¶ 249 to 255)
                         (No answer)




5
 J.A. survived this claim, and the Estate was dismissed from this claim. Anderson, ECF 56; Cole 22-cv-
0856, ECF 25.



**The light blue
         Case    Claims (2,5,6,8,& Filed
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Amended Complaint that were not in the original complaint.
         COLE                   COLE               PARTIES TO            CLAIMS             CLAIMS
       ORIGINAL               AMENDED                   THE             DISMISSED          SURVIVED
      COMPLAINT              COMPLAINT              AMENDED                OR                  &
        (ECF 1)                (ECF 20)            COMPLAINT            SURVIVED1         DEFENDANTS
                                                     (ECF 20)
      (¶¶ 1 to 128)         (¶¶ 1 to 158)            Mensah,
    Factual Allegations   Factual Allegations      Weber, CVMIC
                                                       & City

         Claim 1                Claim 1              PL - Estate         Survived2           Claim 1
    42 U.S.C. § 1983       42 U.S.C. § 1983                                              Excessive Force
     4th Amendment          4th Amendment
    Excessive Force        Excessive Force          DF - Mensah,                         Mensah, Weber,
                                                    Weber, & City                            & City
     (¶¶ 129 to 144)        (¶¶ 159 to 176)
       (No answer)            (No answer)

         Claim 2                Claim 2              PL – Estate          Survived            Claim 2
    42 U.S.C. § 1983       42 U.S.C. § 1983                                              14th Amendment
    14th Amendment         14th Amendment           DF – Weber &                          Failure to Train
     Failure to Train     Failure to Train and           City                              & Supervise
     and Supervise             Supervise
                                                                                           City & Weber
     (¶¶ 145 to 158)        (¶¶ 177 to 196)
       (No answer)            (No answer)
         Claim 3                Claim 3              PL - Estate         Survived3          Claim 3
    42 U.S.C. § 1983      42 U.S.C. § 1983 –                                             Equal Protection
    14th Amendment         14th Amendment           DF – Weber,          Dismissed
     Denial of Equal        Denial of Equal        City, CVMIC, &        CVMIC4 &         Mensah & City
        Protection             Protection              Mensah             Weber

     (¶¶ 159 to 175)        (¶¶ 197 to 209)
       (No answer)            (No answer)

         Claim 4               Claim 4                PL – ALL           Survived5            Claim 5
       Monell Claim          Monell Claim                                                     Monell
                                                       DF - City
     (¶¶ 176 to 185)        (¶¶ 210 to 223)                                                     City
       (No answer)            (No answer)


1
  Order on the Motion to Dismiss. See Cole 22-cv-856 ECF 25.
2
  Defendants did not move to dismiss Mensah and the City from the Amended Complaint for this claim.
See Cole ECF 21.
3
  Parties stipulated that Weber be dismissed from this claim.
4
  Order on the Motion to Dismiss. See Cole 22-cv-856 ECF 25.
5
  Defendants did not move to dismiss this claim. See Cole ECF 21.



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        Claim 5                Claim 5                PL – ALL      Dismissed      Claim 6
     42 U.S.C. 1983         42 U.S.C. 1983
       Deliberate             Deliberate            DF – Weber &                  Dismissed
      Indifference           Indifference                City

     (¶¶ 186 to 192)        (¶¶ 224 to 231)
       (No answer)            (No answer)

        Claim 6               Claim 6                  PL - ALL     Survived6       Claim 7
    Wisconsin Statute     Wisconsin Statute                                       Wisconsin
     Section 895.46        Section 895.46           DF - Weber,     Dismissed   Statute Section
     Indemnification       Indemnification           Mensah,        CVMIC per       895.46
                                                   CVMIC, & City      Court7    Indemnification
     (¶¶ 193 to 204)        (¶¶ 232 to 244)
       (No answer)            (No answer)                                       Weber, Mensah,
                                                                                    & City


         Claim 7               Claim 7                PL – ALL      Dismissed      Claim 8
      Direct Action         Direct Action
          Statute               Statute              DF - CVMIC                   Dismissed
    Wis. Stat. § 632.24   Wis. Stat. § 632.24

     (¶¶ 205 to 208)        (¶¶ 245 to 248)
       (No answer)            (No answer)

        Claim 8                Claim 8              PL – Tracy &    Survived8      Claim 9
    Loss of Society &      Loss of Society &         Albert Cole                Loss of Society
     Companionship          Companionship                                             &
                                                    DF - Weber,                 Companonship
     (¶¶ 209 to 214)        (¶¶ 249 to 254)          Mensah,
       (No answer)            (No answer)          CVMIC, & City                Weber, Mensah,
                                                                                CVMIC, & City




6
  Order on the Motion to Dismiss. See Cole 22-cv-856 ECF 25.
7
  Id.
8
  Defendants did not move to dismiss this claim. See Cole ECF 21.



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